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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  AFFORDABLE AERIAL PHOTOGRAPHY,
  INC., a Florida Corporation,

         Plaintiff,                                    CASE NO.: 9:21cv81962
  v.

  M&E APPRAISAL ASSOCIATES, INC.
  and GREGORY F. FEINSINGER,

        Defendants.
  _________________________________________/

                 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
                          TO PLAINTIFF’S COMPLAINT

         Defendants M&E APPRAISAL ASSOCIATES, INC. and GREGORY F. FEINSINGER

  (collectively, “Defendants”) hereby respond to Plaintiff, Affordable Aerial Photography, Inc.’s

  (“Plaintiff”) Complaint dated October 22, 2021. The paragraph numbers below correspond to those

  of the Complaint, and Defendants state as follows:

         1.      Defendants are without knowledge or information sufficient to form a belief as to

         the truth of the allegations in Paragraph 1, and, therefore, deny the same.

         2.      Admitted.

         3.      Admitted.

         4.      Defendants are without knowledge or information sufficient to form a belief as to

         the truth of the allegations in Paragraph 4, and, therefore, deny the same. Furthermore,

         Plaintiff’s allegations include an assortment of legal conclusions, to which no response if

         required.

         5.      Defendants are without knowledge or information sufficient to form a belief as to

         the truth of the allegations in Paragraph 5, and, therefore, deny the same. Furthermore,
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        Plaintiff’s allegations include an assortment of legal conclusions, to which no response if

        required.

        6.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 6, and, therefore, deny the same. Furthermore,

        Plaintiff’s allegations include an assortment of legal conclusions, to which no response if

        required.

        7.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 7, and, therefore, deny the same.

        8.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 8, and, therefore, deny the same.

        9.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 9, and, therefore, deny the same.

        10.    Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 10 and, therefore, deny the same.

        11.    Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 11, and, therefore, deny the same.

        12.    Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 12, and, therefore, deny the same.

        13.    Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 13, and, therefore, deny the same.

        14.    Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 14, and, therefore, deny the same.
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        15.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 15, and, therefore, deny the same.

        16.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 16, and, therefore, deny the same.

        17.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 17, and, therefore, deny the same. Furthermore,

        the Exhibit, to the extent it is true and authentic, speaks for itself.

        18.     Admitted that Plaintiff copied what is stated on https://machineryappraisals.com/.

        19.     Admitted that Feinsinger is the President and sole shareholder of M&E Appraisal,

        as reflected at SunBiz.org. Denied that Feinsinger engaged in the alleged infringing

        activities.

        20.     Denied.

        21.     Denied.

        22.     Defendants admit that they did not receive authorization from Plaintiff to use the

        photograph. Defendants aver that they needed no such authorization.

        23.     Denied.

        24.     Denied.

        25.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 25, and, therefore, deny the same.

        26.     Denied.

        27.     Defendants incorporate herein their responses to all previous paragraphs above as

        if fully set forth herein.
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        28.    M&E Appraisal is without knowledge or information sufficient to form a belief as

        to the truth of the allegations in Paragraph 28, and, therefore, deny the same. Furthermore,

        Plaintiff’s allegations include an assortment of legal conclusions, to which no response if

        required.

        29.    M&E Appraisal is without knowledge or information sufficient to form a belief as

        to the truth of the allegations in Paragraph 29, and, therefore, deny the same. Furthermore,

        Plaintiff’s allegations include an assortment of legal conclusions, to which no response if

        required.

        30.    M&E Appraisal is without knowledge or information sufficient to form a belief as

        to the truth of the allegations in Paragraph 30, and, therefore, deny the same. Furthermore,

        Plaintiff’s allegations include an assortment of legal conclusions, to which no response if

        required.

        31.    M&E Appraisal admits that it did not receive authorization from Plaintiff to use the

        photograph. Defendants aver that they needed no such authorization.

        32.    Plaintiff’s allegations as set forth in Paragraph 32 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 32.

        33.    Plaintiff’s allegations as set forth in Paragraph 33 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 33.

        34.    Denied.
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        35.     Plaintiff’s allegations as set forth in Paragraph 35 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 35.

        36.     Plaintiff’s allegations as set forth in Paragraph 36 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 36.

        37.     Plaintiff’s allegations as set forth in Paragraph 37 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 37.

        38.     Plaintiff’s allegations as set forth in Paragraph 38 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 38.

                      PLAINTIFF’S PRAYER FOR RELIEF IN COUNT I

                This section contains no factual allegations and therefore requires no response. To

        the extent that further pleading is required, M&E Appraisal denies that Plaintiff is entitled

        to any relief from M&E Appraisal or the Court, either as prayed for in the Complaint or

        otherwise. M&E Appraisal asks the Court to deny any and all relief requested by Plaintiff

        against M&E Appraisal in Plaintiff’s Prayer for Relief.

        39.     Defendants incorporate herein their responses to all previous paragraphs above as

        if fully set forth herein.

        40.     Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations in Paragraph 40, and, therefore, deny the same.

        41.     Denied.
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        42.     Denied.

        43.     Denied.

        44.     Denied.

        45.     Plaintiff’s allegations as set forth in Paragraph 45 contain legal conclusions to

        which no response is required. To the extent that a response is required, Defendants deny

        the allegations set forth in Paragraph 45.

                     PLAINTIFF’S PRAYER FOR RELIEF IN COUNT II

                This section contains no factual allegations and therefore requires no response. To

        the extent that further pleading is required, Defendants deny that Plaintiff is entitled to any

        relief from Defendants or the Court, either as prayed for in the Complaint or otherwise.

        Defendants ask the Court to deny any and all relief requested by Plaintiff against

        Defendants in Plaintiff’s Prayer for Relief.

        46.     Defendants incorporate herein their responses to all previous paragraphs above as

        if fully set forth herein.

        47.     Plaintiff’s allegations as set forth in Paragraph 47 contain legal conclusions to

        which no response is required. To the extent that a response is required, M&E Appraisal

        denies the allegations set forth in Paragraph 47.

        48.     Denied.

        49.     Denied.

        50.     Plaintiff’s allegations as set forth in Paragraph 50 contain legal conclusions to

        which no response is required. To the extent that a response is required, Feinsinger denies

        the allegations set forth in Paragraph 50.

                          PLAINTIFF’S PRAYER FOR RELIEF IN COUNT III
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                This section contains no factual allegations and therefore requires no response. To

        the extent that further pleading is required, Feinsinger denies that Plaintiff is entitled to any

        relief from Feinsinger or the Court, either as prayed for in the Complaint or otherwise.

        Feinsinger asks the Court to deny any and all relief requested by Plaintiff against M

        Feinsinger in Plaintiff’s Prayer for Relief.

                                       AFFIRMATIVE DEFENSES

                                   FIRST AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

                                  SECOND AFFIRMATIVE DEFENSE

        Defendants’ acts complained of herein are permitted and protected under the fair use

        provisions of the Copyright Act, 17 U.S.C. § 107.

                                   THIRD AFFIRMATIVE DEFENSE

        If Plaintiff sustains the burden of proving that Defendants committed copyright

        infringement, then Defendants should be found to have not been aware and had no reason

        to believe that their acts constituted an infringement of copyright, and the Court in its

        discretion should reduce an award of statutory damages, if established, under 17 U.S.C. §

        504(c)(2).

                                  FOURTH AFFIRMATIVE DEFENSE

        Plaintiff is not entitled to statutory damages under 17 U.S.C. § 412.

                                   FIFTH AFFIRMATIVE DEFENSE

        If Plaintiff sustains the burden of proving that Defendants committed copyright

        infringement, and if Plaintiff establishes that an award of statutory damages is available,
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         then it shall be deemed as innocent infringement at most, and not willful infringement

         under 17 U.S.C. § 504(c)(2).

                                   SIXTH AFFIRMATIVE DEFENSE

         This action is barred by the doctrine of Laches.



         DATED: December 2, 2021                      Respectfully submitted,

                                                      _/s/__Darren A. Heitner_______
                                                      Darren A. Heitner, Esq.
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                                                      Counsel for Defendants

                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 2, 2021 a copy of the foregoing document was filed
  electronically via the Court’s Electronic Case Filing System and thereby served upon all counsel
  of record.

                                                      _/s/__Darren A. Heitner_______
                                                      Darren A. Heitner, Esq.
